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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CESAR FIGUEROA
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR-S-09-194 FCD
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND ORDER TO CONTINUE
13         v.                              )              STATUS HEARING AND TO EXCLUDE TIME
                                           )              PURSUANT TO THE SPEEDY TRIAL ACT
14   CESAR FIGUEROA,                       )
     MARCUS WILLIAMS,                      )
15                                         )
                       Defendants.         )
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through Jill Thomas,
18   Assistant U.S. Attorney, and defendants, CESAR FIGUEROA by and through his counsel, Lexi Negin,
19   Assistant Federal Defender, and MARCUS WILLIAMS by and through his counsel, Michael Hansen, that
20   the status conference set for Monday, May 24, 2010, be continued to Monday, July 26, 2010, at 10:00 a.m..
21   The reason for this continuance is to allow defense counsel additional time to review discovery with the
22   defendants, to examine possible defenses and to continue investigating the facts of the case. In addition,
23   defense counsel Lexi Negin will not be available as she is scheduled to be out of the office for the
24   remainder of the month of May.
25   ///
26   ///
27   ///
28                                                         1
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 1          It is further stipulated that the time period from the date of this stipulation, May 11, 2010, through
 2   and including the date of the new status conference hearing, July 26, 2010, shall be excluded from
 3   computation of time within which the trial of this matter must be commenced under the Speedy Trial Act,
 4   pursuant to 18 U.S.C. §§ 3161(h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
 5   prepare].
 6
 7   DATED: May 11, 2010
 8
                           Respectfully submitted,
 9
     BENJAMIN B. WAGNER                                   DANIEL BRODERICK
10   United States Attorney                               Federal Defender
11
12    /s/ Lexi Negin for                                   /s/ Lexi Negin
     JILL THOMAS                                          LEXI NEGIN
13   Assistant U.S. Attorney                              Assistant Federal Defender
     Attorney for United States                           Attorney for Cesar Figueroa
14
15                                                         /s/ Lexi Negin for
                                                          MICHAEL HANSEN
16                                                        Attorney for Marcus Williams
17
            IT IS SO ORDERED.
18
     DATED: May 11, 2010
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20
                                                     _______________________________________
21                                                   FRANK C. DAMRELL, JR.
                                                     UNITED STATES DISTRICT JUDGE
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